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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


JOHN DOE,

        Plaintiff,
                                         CASE NO. 4:17-cv-00516-MW-CAS

FLORIDA STATE UNIVERSITY
BOARD OF TRUSTEES; FRANK
DENENBERG, an individual; and
CODY HARTLEY, an individual,

     Defendants.
_________________________________/

                              JOINT STATUS REPORT

        Pursuant to this Court’s Initial Scheduling Order [Doc. 3] the parties hereby

file a joint status report, and state:

        1.    The parties’ joint report as required by Rule 26(f) and pursuant to the

Initial Scheduling Order was filed on December 21, 2017.

        2.    The parties exchanged their initial Rule 26 disclosures on January 4,

2018.

        3.    Defendants served their First Set of Interrogatories and First Request

for Production to Plaintiff on January 22, 2018. On March 5, 2018, the Plaintiff

served his Answers to Interrogatories and his Response to the Defendant's First

Request for Production.        The parties agreed to extend the due-date on those
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responses from February 21 to March 5, because the Plaintiff's attorney was in a trial

from February 19 to March 2.

      4.     On March 9, 2018, the Plaintiff served his First Request for Production.

The response will be due on April 10, 2018.

      5.     Defendants will take the deposition of Plaintiff on March 30, 2018.

      6.     The parties have set aside April 9, 10 and 13 to take the deposition of

witnesses.

      Respectfully submitted this 19th day March 2018.

THE MACNAMARA LAW FIRM, P.A.                  HENRY BUCHANAN, P.A.


s/ Michael L. MacNamara                       s/ Miriam R. Coles
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                                              TRUSTEES, FRANK DENENBERG and
                                              CODY HARTLEY




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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of has been furnished via

CM/ECF, which will automatically send e-mail documentation of such filing to all

attorneys of record on this 19th day of March 2018.

                                      s/ Miriam R. Coles
                                      ATTORNEY




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